       Case 19-30787                Doc 7           Filed 03/21/19 Entered 03/21/19 23:50:56                         Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Brynna Ilima Johansen                                             Social Security number or ITIN        xxx−xx−7173
                      First Name   Middle Name     Last Name                            EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Minnesota
                                                                                        Date case filed for chapter 7 3/18/19
Case number:          19−30787 − KAC




Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       Brynna Ilima Johansen

2.      All other names used in the
        last 8 years

3.     Address                               3214 Monterey Ave
                                             Vadnais Heights, MN 55127

4.     Debtor's attorney                     Andrew C. Walker                                       Contact phone: 612−824−4357
                                             Walker & Walker Law Offices PLLC                       Email: curtwalkerbky@gmail.com
       Name and address                      4356 Nicollet Ave S
                                             Minneapolis, MN 55409

5.     Bankruptcy trustee                    John A. Hedback                                        Contact phone: 612 436−3280
                                             2855 Anthony Ln S                                      Email: HedbackTrustee@hac−mnlaw.com
       Name and address                      Ste 201
                                             St Anthony, MN 55418
                                                                                                               For more information, see page 2 >
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                                                  Certificate of Notice Page 2 of 4
Debtor Brynna Ilima Johansen                                                                                                 Case number 19−30787


6. Bankruptcy clerk's office                    200 Warren E Burger Federal Building and                     Hours open: Monday − Friday: 8:00am −
                                                US Courthouse                                                5:00pm
                                                316 N Robert St
    Documents in this case may be filed at this St Paul, MN 55101                                            Contact phone: 651−848−1000
    address. You may inspect all records filed
    in this case at this office or online at                                                                 Web address: www.mnb.uscourts.gov
    www.pacer.gov.
                                                                                                             Date: 3/19/19


7. Meeting of creditors                          April 18, 2019 at 01:00 PM                                  Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a              U S Courthouse Rm 402, 316 N
    questioned under oath. In a joint case,      later date. If so, the date will be on the court            Robert St, St. Paul, MN 55101
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                Filing deadline: 6/17/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.                                                                          You must file a motion:
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to          • if you assert that the discharge should
                                                   receive a discharge of any debts under any of the         be denied
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),          under § 727(a)(8) or (9).
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).



                                                 Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


                                                 Certificate of Completion of Financial                      Filing deadline: 6/17/19
                                                 Management Course due:
                                                 Credit Counseling and Debtor Education Information can be
                                                 found at
                                                 http://www.usdoj.gov/ust/eo/bapcpa/ccde/index.htm


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                 not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                 exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                 www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                 debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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                                               United States Bankruptcy Court
                                                   District of Minnesota
In re:                                                                                                     Case No. 19-30787-KAC
Brynna Ilima Johansen                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0864-3                  User: barbie                       Page 1 of 2                          Date Rcvd: Mar 19, 2019
                                      Form ID: 309A                      Total Noticed: 27


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 21, 2019.
db             +Brynna Ilima Johansen,    3214 Monterey Ave,    Vadnais Heights, MN 55127-5003
smg            +United States Attorney,    600 US Courthouse,    300 S 4th St,    Minneapolis, MN 55415-3070
62200340       +Avant Compliance Department,    222 N Lasalle Street Suite 1700,     Chicago, IL 60601-1101
62200342       +Certified Recovery Inc,    PO Box 808,    Eau Claire WI 54702-0808
62200346       +Kris,   Unise,   3214 Monterey Ave,     Vadnais Heights, MN 55127-5003
62200349       +Messerli & Kramer,    3033 Campus Drive Suite 250,     Plymouth MN 55441-2662
62200350       +Meyer Njus Tanick PA,    330 2nd Ave S STE 350,     Minneapolis, MN 55401-2212
62200352       +Rausch Sturm,   3209 W. 76th St, Suite 301,     Minneapolis, MN 55435-5246
62200357        Twin Cities Anesthesia Associates,     SDS 12 2673,    PO Box 86,   Minneapolis, MN 55486-2673
62200358       +Velocity Investments LLC,    PO Box 788,    Wall New Jersey 07719-0788

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: curtwalkerbky@gmail.com Mar 19 2019 22:32:29         Andrew C. Walker,
                 Walker & Walker Law Offices PLLC,     4356 Nicollet Ave S,    Minneapolis, MN 55409
tr             +EDI: QJAHEDBACK.COM Mar 20 2019 02:33:00       John A. Hedback,     2855 Anthony Ln S,    Ste 201,
                 St Anthony, MN 55418-2637
smg            +EDI: MINNDEPREV.COM Mar 20 2019 02:33:00       Minnesota Department of Revenue,
                 Bankruptcy Section,    PO BOX 64447,    St Paul, MN 55164-0447
ust            +E-mail/Text: ustpregion12.mn.ecf@usdoj.gov Mar 19 2019 22:32:36         US Trustee,
                 1015 US Courthouse,    300 S 4th St,    Minneapolis, MN 55415-3070
62200339       +E-mail/Text: reliancesupport@arsprofessionals.com Mar 19 2019 22:32:32
                 Accounts Receiveable Services,     6160 Summit Dr,    Suite 420,    Minneapolis MN 55430-2149
62200341        EDI: CAPITALONE.COM Mar 20 2019 02:33:00       Capital One Bank (USA), N.A.,      PO Box 6492,
                 Carol Stream, IL 60197-6492
62200343       +EDI: CHASE.COM Mar 20 2019 02:33:00       Chase,    PO Box 15298,    Wilmington DE 19850-5298
62200344       +E-mail/Text: rashna.patnaik@indecomm.net Mar 19 2019 22:33:07         Ditech Financial LLC,
                 c/o Indecomm Global Services,    1260 Energy Lane,     St. Paul, MN 55108-5225
62200345        EDI: IRS.COM Mar 20 2019 02:33:00       Internal Revenue Service,     PO Box 7346,
                 Philadelphia PA 19101-7346
62200348       +EDI: RESURGENT.COM Mar 20 2019 02:33:00       LVNV Funding LLC,     PO Box 10497,
                 Greenville SC 29603-0497
62200347       +E-mail/Text: bk@lendingclub.com Mar 19 2019 22:32:57        Lending Club,    71 Stevenson, Ste 300,
                 San Francisco, CA 94105-2985
62200351       +EDI: MINNDEPREV.COM Mar 20 2019 02:33:00       Minnesota Department of Revenue,
                 551 Bkcy Section,    PO Box 64447,    St Paul MN 55164-0447
62200353        E-mail/Text: bkdepartment@rtresolutions.com Mar 19 2019 22:32:52         Real Time Resolutions Inc,
                 1750 Regal Row #120,    PO Box 36655,    Dallas, TX 75235
62200354        E-mail/Text: reliancesupport@arsprofessionals.com Mar 19 2019 22:32:32         Reliance Recoveries,
                 PO Box 29227,   Minneapolis, MN 55429
62200355        EDI: RMSC.COM Mar 20 2019 02:33:00       Synchrony Bank,    PO Box 965061,    Orlando FL 32896-5061
62200356        EDI: TFSR.COM Mar 20 2019 02:33:00       Toyota Financial Services,     Attn: Bankruptcy Dept,
                 PO Box 8026,   Cedar Rapids IA 52408 8026
62200359       +EDI: BLUESTEM Mar 20 2019 02:33:00       WebBank,    215 S State St STE 1000,
                 Salt Lake City, UT 84111-2336
                                                                                                TOTAL: 17

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
smg*             +US Trustee,   1015 US Courthouse,   300 S 4th St,   Minneapolis, MN 55415-3070
                                                                                              TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 21, 2019                                             Signature: /s/Joseph Speetjens
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                             Form ID: 309A               Total Noticed: 27

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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 19, 2019 at the address(es) listed below:
              Andrew C. Walker   on behalf of Debtor 1 Brynna Ilima Johansen curtwalkerbky@gmail.com,
               notices@bankruptcytruth.com
              John A. Hedback   jhedback@ecf.axosfs.com, ladamson@hac-mnlaw.com
              US Trustee   ustpregion12.mn.ecf@usdoj.gov
                                                                                            TOTAL: 3
